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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


 Northstar Healthcare Consulting, LLC,
                  Plaintiff(s),
                                                  CIVIL ACTION FILE
 vs.
                                                   NO. 1:17-cv-01071-ODE
 Magellan Rx Management, LLC.,
 Magellan Medicaid Administration,
 Inc. and Magellan Health, Inc.,
                   Defendant(s).



                             AMENDED JUDGMENT

       This action having come before the court, Honorable Orinda D. Evans, United

States District Judge, for consideration of Defendants' Motion for Summary Jugment and

Attorney's Fees and Costs, and the court having Granted said motion, it is

       Ordered and Adjudged that the plaintiff take nothing; that the defendants recover

$1,414,023.90 in litigation costs and attorneys' fees in this action, and the action be, and

the same hereby is, dismissed.

       Dated at Atlanta, Georgia, this 18th day of June, 2020.


                                                         JAMES N. HATTEN
                                                         CLERK OF COURT


                                                   By:   s/Barbara D. Boyle
                                                         Deputy Clerk
Prepared, Filed, and Entered
in the Clerk's Office
June 18, 2020
James N. Hatten
Clerk of Court

By:    B. D. Boyle
       Deputy Clerk
